Case 4:19-cr-00675-DPM Document 31 Filed 12/15/21 Page 1of1

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

CENTRAL DIVISION
UNITED STATES OF AMERICA )
VS 4:19 CR00675 DPM-1
JACKSON ROE

NOTICE OF APPEARANCE
Comes now, Megan M. Wilson of the James Law Firm, and for her Notice of Appearance
states that she has also been retained by the Defendant and requests that all pleadings and pertinent
correspondence in this cause of action continued to be directed from this day forward to James Law
Firm, 1001 La Harpe Blvd, Little Rock, Arkansas, 72201.
WHEREFORE, Megan M. Wilson, of the James Law Firm, prays that she be entered as an
attorney of record for Jackson Roe in the above-captioned case.
Respectfully submitted,
Megan M. Wilson
Ark. Bar No. 2018093
Attorney for Defendant
James Law Firm
1001 La Harpe Blvd.

Little Rock, AR 72001
(501) 375-0900

E-mail: mwilson@jamesfirm.com
